        Case 1:23-cr-00031-SPW Document 50 Filed 09/12/23 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                               BILLINGS DIVISION




 UNITED STATES OF AMERICA,
                                                    CR23-31-BLG-SPW
                       Plaintiff,

 vs.                                                 ORDER


 NATHAN ALLEN SAYLER,

                       Defendant.


       A hearing on Defendant's Motion to Dismiss(Doc. 27) was held before this

Court on September 12, 2023. For the reasons stated on the record,

       IT IS HEREBY ORDERED that Defendant's Motion to Dismiss(Doc. 27)

is DENIED.


       The clerk is directed to notify counsel of the entry of this Order.

       DATED this /^^^ay of September, 2023.


                                               SUSAN P. WATTERS
                                               United States District Judge
